Case 19-17117-amc            Doc 931    Filed 09/29/21 Entered 09/29/21 15:32:11       Desc Main
                                       Document      Page 1 of 4




                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  In re:
                                                         Involuntary Chapter 11
  Vascular Access Centers, L.P.,
                                                         Case No. 19-17117 (AMC)

                   Debtor.


      VASCULAR ACCESS CENTERS, LLC’S AND JAMES F. McGUCKIN, M.D.’S
     EMERGENCY MOTION TO VACATE ORDER GRANTING JOHN E. ROYER’S
                    MOTION TO QUASH SUBPOENA

           Vascular Access Centers, LLC (“VAC LLC”) and James F. McGuckin, M.D. (“Dr.

 McGuckin”), hereby submit the following Emergency Motion to Vacate Order Granting John E.

 Royer’s Motion to Quash Subpoena:

           1.    On September 28, 2021, at 8:21 PM, Non-Party John E. Royer filed an

 Emergency Motion to Quash the Subpoena (“Royer Motion”) served on him by Dr. McGuckin.

 [Doc. No. 927].

           2.   On September 29, 2021, at 11:27 AM, before Dr. McGuckin had a chance to

 respond to the Royer Motion, and without advance notice, the Court entered an Order granting

 the Royer Motion and quashing the Subpoena, concluding the Subpoena was not properly

 served, insufficient advance notice was given, and testimony from Mr. Royer was “irrelevant.”

 [Doc. No. 928].

           3.   The Order should be vacated -- as also expressed to the Court via Counsel’s

 September 29, 2021 email, subsequently filed of record by counsel at Doc. No. 929 – for the

 following reasons:
Case 19-17117-amc        Doc 931     Filed 09/29/21 Entered 09/29/21 15:32:11             Desc Main
                                    Document      Page 2 of 4



                •   First, Mr. Royer WAS served personally and there is definitive proof of it.
                    (See Affidavit of Service, Exhibit A.) Indeed, a process server from “Heaven
                    Sent Legal Services” hand-served Mr. Royer’s office, and Dr. McGuckin’s
                    counsel paid $190.00 for it to do so. (See receipt for service, attached as
                    Exhibit “B.”) Mr. Royer’s “administrative assistant,” who signed a
                    Declaration stating the subpoena arrived via Federal Express is flat out wrong.

                •   Second, Mr. Royer and his counsel have been on notice for months that his
                    recanted Affidavit is at the core of Dr. McGuckin’ s Motion to Vacate. They
                    have known for months Dr. McGuckin filed such a motion. Their allegation
                    that they do not have adequate time to prepare is a complete sham. Dr.
                    McGuckin’s counsel abided the Court’s August 4, 2021 Order to disclose
                    witnesses on September 23rd, and then personally served Mr. Royer the very
                    next day. (It should also not be lost on this Court that Mr. Royer lied in his
                    affidavit to the Delaware County Court about his so-called “unavailability” to
                    testify live at the August 2018 injunction hearing, which was what gave rise to
                    the false Affidavit in the first place.)

                •   Third, Mr. Royer’s recanted Affidavit---which was submitted in Court
                    Proceedings as a knowing falsehood—was the core basis of the “Derivative
                    Litigation,” the allegations of which became instrumental in this
                    Court’s February 7, 2020 scathing opinion that Dr. McGuckin, by owning his
                    own centers and competing with VAC, put his own interest above the interest
                    of VAC, and that he should be sanctioned. Mr. Royer’s subsequent deposition
                    testimony makes clear McGuckin was absolutely entitled to own his own
                    centers and compete. One of the main girders supporting this Court’s Febuary
                    7, 2020 Opinion is flat out based upon a fabrication. Testimony in that regard
                    cannot be “irrelevant.”


         WHEREFORE, Moving Parties, VAC LLC and Dr. McGuckin, respectfully request

 that the Court enter an order, substantially in the form of the Proposed Order attached hereto

 granting the relief requested in this Motion by vacating the Court’s Order [Doc. 928], grant Dr.

 McGuckin an adverse inference that Mr. Royer has misled yet another Court as to his

 “unavailability” to testify and service of a subpoena seeking testimony, and that the entirety of

 Mr. Royer’s Deposition Testimony and Exhibits thereto are admitted as evidence for purposes of

 Dr. McGuckin’s Motion to Vacate the Court’s February 7, 2020 Opinion appointing a Trustee

 [Doc. No. 896], which should likewise be granted.


                                                  2
Case 19-17117-amc     Doc 931    Filed 09/29/21 Entered 09/29/21 15:32:11   Desc Main
                                Document      Page 3 of 4




                                               Respectfully submitted,

                                               BOCHETTO & LENTZ, P.C.

                                               /s/ George Bochetto

 Dated: September 29, 2021              By:    ______________________________
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                                               David P. Heim, Esquire (84323)
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                                               Attorneys for Interested Parties
                                               VAC LLC and Dr. McGuckin




                                           3
Case 19-17117-amc       Doc 931    Filed 09/29/21 Entered 09/29/21 15:32:11             Desc Main
                                  Document      Page 4 of 4




                                CERTIFICATE OF SERVICE

        I, David P. Heim, Esquire, hereby certify that the foregoing Emergency Motion to Vacate

 Order Granting John E. Royer’s Motion to Quash Subpoena has been served on counsel of

 record in this matter by way of the Court’s ECF system.



                                                           BOCHETTO & LENTZ, P.C.


 Dated: September 29, 2021                          By:    /s/ David P. Heim, Esquire
                                                           David P. Heim, Esquire




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